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                                                                                   AT ROANOKE,VA
                                                                                        FILED

                       IN THE UNITED STATES DISTRICT COURT
                                                                                  DEC 1? 2213
                      FO R TH E W ESTERN D ISTR ICT O F VIR G INIA             JULIA e.DUD
                                  R O A N O K E DIV ISIO N
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  K EVIN SN O D GR ASS,JR .,                       CA SE N O .7:16C V 00091

                       Plaintiff,
  V.                                               M EM O R AN D UM O PIN ION

  CHRISTOPHER GILBERT,c & ,                        By: Glen E.Conrad
                                                   SeniorUnited StatesDistrictJudge
                       D efendants.

         The plaintiff,Kevin Snodgrass,Jr.,a Virginia inmate proceeding pro K ,filed tllis civil

  rights'action ptlrsuantto 42 U.S.C.j1983,raising multiple claims. The courthas already
  adjudicatedmanyofhisclaimsregardingprisonconditions.Afterreview.oftherecord,thecourt
  concludes that the three defendants remaining before the court are entitled to judgment.
  Snodgrasshasalsotiledamotionforinterlocutoly injunctivereliefthatthecourtmustdismiss.
         The courthassum marizedtheproceduralhistory ofthiscasein prioropinions,ECF Nos.

  33 aqd 86. Forreasonsstated in those opinions,the courtgranted sllmmary judgmenton a11
  claimsexceptallegetIretaliation fortheplaintiffslitigation efforts,and ado
                                                                           ''ptedtheReportand
  Recommendation ofthemagistratejudgeregardingtheresultsofabenchtrialshehadconducted
  on thétclaim on August23 and 24,2017. In lightofthe intervening courtofappealsdecision in

  Bookerv.S.C.Dep'tofCo1'r.,855 F.3d 533 (4th Cir.2017),however,the courtvacated the
  portion ofthe order granting summary judgmentfor defendantsasto Snodgrass'claimsthat
  defendantsGallihar,Gilbert,and Stewarthad delayed llisprogressthrough the segregation step-

  down progrnm to retaliate againsthim forhisinfonnalcomplaintsand grievances,4n exerciseof

  his cqnstitm ionalrightto petition. Speciscally,the courtfound m aterialdisputesoffactas to

  whether these tllree defendants had threatened to hold Snodgrass longer in segregated

  confnementif he continued to file inform alcom plaints and grievances,and as to whether in



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  retaliation forhisfling such grievanceforms,they m aderecommendationsordecisionsto hinder

  Snodgrass'progressin thestep-down program.Thecourtdenied summaryjudgmentastothese
  claim s and referred the m atter to M agistrate Judge Pam ela M eade Sargent for further

  proceedings,pursuantto28U.S.C.j636(b)'
                                       (1)(B).
                On July 17,2018,Judge Sargentconducted an additionalbench trialon the rem aining

  claimsand Snodpuss'motion forinterlocutory injunctiverelief.l The partiesagreed thatthe

  judge could also considerevidence taken during the 2017 bench trial. The case ispresently
  before .
         the courton Judge Sargent's reportand recommendation Cl
                                                               the repolf),ECF No.110,
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  recomme
       i ndingjudgmentforthedefendants,andSnodgrass'objectionsthereto,ECFNo.111.
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            -
            f'
             hemagistratejudgemakesonlyarecommendationtothiscourt. Mathewsv.W eber,
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  4 23Urï
        S.261,270-71(1976).Thecourtischargedwithmnkl         .ngu<aXnovodeterminationof
  those portions of the report or specified proposed findings or recom mendations to which
            1'
             k
  objectipn ismade.'' 28U.S.C.j 636(b)(1). Although the districtcourtmay give amagistrate
  judgeijfproposedfindingsandrecommendationst&suchweightas(theirjmeritcommandsandthe
            1
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            l                                    '' h
  sotmddiscretionofthejudgewarrants, teauthorityandtheresponsibilitytomakeanirlfbrmed
            l
  finaldeterminationremainswiththedistrictjudge.UrlitedStatesv.Raddatz,447U.S.667,682-
  83 (19à0).2 Therefore,in performing a X novo review related to any party'sobjections,the

  districtjudge mustexercise tlhisnon-delegable authority by considering the actualtestimony,
  and notm erely by reviewing the magistrate'sreportand recomm endations.'' W im merv.Cook,

  774F.2d68,76(4thCir.1985).

        '
                ! The docketreflectsthatthe courtnotified Snodgrasswellin advancethattheJuly 2018 hearing should
  includeevidenceontheremainingretaliation claim aswellashismotion forinterlocutory injtmctiverelief See
  ECFNo.94(mailedtoSnodgrassonMay17,20l8).
          2 The courthas omitted internalquotation marks, alterations,or citations here and elsewhere in this
  m emorandum opinion,unlessotherwisenoted.
                                                          2

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           To find in favorofSnodgrass,thecouz'tmustbepersuaded thathehasproven each ofthe

  elem entsofhisretaliation claim sby a preponderance ofthe evidence. In re W inship,397 U .S.

  358,371 (1970). Preponderance ofthe evidence means a factis more probable than not.
  Concrete Pipe & Prods.ofCal.-Inc.v.Constr.Laborers Pension Tr.forS.Ca1.,508 U.S.602,

  622(1993).
           To prevailin aretaliation claim underSection 1983,aplaintiffsevidencem ustpersuade

  the courtthatç&(1)he engaged in protected FirstAmendmentactivity,(2)the defendanttook
  some action thatadversely affected his FirstAmendmentrights,and (3)there was a causal
  relationship between hisprotected activity and the defendant'sconduct.'' Martin v.Duffv,858
  F.3d 239,249 (4th Cir.2017),cert.denied,138 S.Ct.738 (2018). To rule in the plaintiY s
  favor,the factfinder must find itm ore likely than notthatthe defendanttook the allegedly

  retaliatory actlçin response to the gplaintic s)exercise ofa constimtionally protected right.''
  Adamsv.Rice,40F.3d72,75(4thCir.1994).
       '

           Snodgrassobjectstothereport'scharacterization ofcertaintestimonyand documentation
  and itsfailtlre to interpretthe evidence asproofofhisasserted claim sagainstthe defendants. In

  lightoftheseobjections,the courthasspecitkally conductedéqnovo review ofthereportand
  the itemsofevidencethatSnodgrasshashighlighted. From thisreview,thecourtconcludesthat
       1
  the weightofthe evidence fully supports the materialfactualfindingsand the legalconclusions

  ofthereport.

           The2018reportrecognizesthatSnodgrassexercised hisFirstAm endm entrightsby fling

  numerousinform alcomplaintforms and grievances. Some ofthe adm inistrativeremedy form s

  in thé record include the nam es of one orm ore of the defendants. The reportalso finds that

  Snodgrass and his witnesses presented som e evidence that the defendants m ade comm ents




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  suggesting a relationship between his filing of (Gpaperwork''and his delayed progress in the
  Segregation Step-Down Progrnm .3 The defendants testified that they had never threatened

  Snodgrasswith longersegregated confinement,and had neverretaliated againsthim ,because of

  hisuseofthegrievanceprocedures. The2018 reportstatesthat

          the evidence before the court does not persuade m e that any of the delays in
          Snodgrass'sprogression through the Step-Down program w ere caused by actions
          taken by the defendantsin an effortto retaliate againstSnodgrassforexercising
          his right to petition by filing com plaints and grievances.To the contrary, 1
          continueto be persuaded thatwhen Snodgrassencotmtered adelay,the delay was
          based on hisown actionsorhisown failureto progressthroughtheprogram .

  Report14,ECF N o.110.

          From X novo review of the parties' evidence, the court likewise concludes that
  Snodgrass has not proven the causation elem ent of his retaliation claim . The court is not

  persuaded that any of the defendants'classifcation decisions about Snodgrass' stat'us were

  motivated by an intention to retaliate againsthim forhis use ofthe grievance procedures. The

  step-down progrnm is intended to change inmates'behavior and thinking to prepare them for

  safe reentry into a generalpopulation setting,and as such,it has severalcom ponents. Some

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  I
    omponents are objective, including the requirement to remain free of new disciplinary
  infractions and the requirem ent to complete assigned portions of the Challenge Series

  workbooks. Anotherimportantcomponentofthe step-down progrnm tand any prison security
  classitkation decision)issubjective,such asofficials'weeldy ratingsoftheinmate'sbehavior
  andtheirassessmentofthelevelofrisk heposesifreleased f'
                                                        rom segregation.
         W itnesses testifed thatSnodgrass often received,and was notified oilpoor beha'vior
  ratings,because he was notshowing an appropriate levelof respect. These 1ow ratings were

         3 The 2017 and 2018 reportsprovide details aboutthe step-dom zprogram thatthe courtwillnot
  regeathere. Moreover,thecourthasalready determinedthatofficials'occasionalmisapplicationofor
  fallure to com ply w ith step-down procedures does not rise to the levelof a constitutionalviolation and
  thus,doesnotstateany viableclaim forreliefunderj 1983.
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  suffklent,per policy,to delay his progress toward less restrictive confinem ent conditions,
  regr dless ofwhetherhe had completed required classes orbooks,or had avoided disciplinary

  charges. M oreover,Snodgrass haspresented no evidence ofretaliatory m otive---ofany reason

  thatthe defendantswould keep him in the step-down progrnm longer,m erely because he filed

  grievances about them or his segregation classifcation. Overall,the cotlrtfinds the greater

  weightof the more credible evidence to be that none ofthe defendants intentionally delayed
  Snodgrass'step-down progressbecause ofhisinformalcomplaintsorgrievances.

         Based on thematerialfactualtindingsin thereportand the court'sown 4-qnovoreview of
                                                                           .




  the reéord asreflected in thisopinion,the courtconcludesthatSnodgrasshasfailed to prove his

  retaliation claims by a preponderance of the evidence. Accordingly, the courtwill ovem zle

  Snodgrass'objectionsto thereport,adoptthereportin itsentirety,and enterjudgmentforthe
  defendants.

         Snodgrass'motion forinterlocutory injunctiverelief,ECF No.92,seeksatransferaway
  from W allensRidge State Prison,wherehe iscurrently confined,to a lowersecurity levelprison

  facility. The three defendants remaining before the courtare em ployees ofRed Onion State

  Prison, not W allens ltidge.. lt is undisputed that none of them has authority to have him

  transferred elsewhere. On this ground,the defendantshave m oved fordism issalofSnodgrass'

  m otion,and the courtwillgranttheirm otion.An appropriate orderwillenterthisday.

         The Clerk is directed to send copies of this mem orandllm opirlion and accompanying

  orderto plaintiffand to counselofrecord forthe defendants.
         Ex'rsR:This 1-IN day ofDecem ber, 2018.


                                                   SeniorUnited StatesDistrictJudge




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